         Case 3:15-cr-01796-CAB                Document 90          Filed 07/15/16            PageID.321          Page 1 of 2

AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITEDSTATESDISTRICTCOURT                                              f\LEf
                                            SOUTHERN DISTRICT OF CALIFORNIA                            ."      JU\.. \5 ~ \t- ..2­
              UNITED STATES OF AMERICA                              JUDGMENT IN A               CRIrJMA~.~~§'1fIt\Cl tOUN.,.
                                   V.                               (For Offenses Committed On 0_~ltfijC;8~'·1                         .
  FRANCISCO ALFREDO GUERRERO-BA TIOJA (2)                                                                  '"'i:"
                                                                       Case Number:         I 5CR 1796-CAB ..DJ.
                                                                                                     .----~
                                                                    BRIAN FUNK
                                                                    Defendant's Attorney
REGISTRAnON NO.                    50321298
o­
THE DEFENDANT:
IZI   pleaded guilty to count(s)         ONE (1) OF THE ONE-COUNT SUPERSEDING INFORMATION

o was found gUilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Connt
Title & Section                         Natnre of Offense                                                              Nnmber(s)
21 USC 952, 960, 963                    CONSPIRACY TO DISTRIBUTE COCAINE INTENDED FOR                                       1
                                        IMPORTATION




     The defendant is sentenced as provided in pages 2 through                 2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been f06nd not guilty on count(s)
IZI Count(s)      Remaining against the defendant             are         dismissed on the motion of the United States.

IZI   Assessment: $100.00 - Waived.



IZI   No fine                  0 Forfeiture pursuant to order filed                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                      15CR1796-CAB
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               FRANCISCO ALFREDO GUERRERO-BA TIOJA (2)                                  Judgment - Page 2 of2
CASE NUMBER:             15CR 1796-CAB

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED (405 DAYS).




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
o     The court makes the following recommendations to the Bureau of Prisons:




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o    at                              A.M.              on
      o     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o     on or before
      o     as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:
                               __________________________ to ______________________________
      Defendant delivered on

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                       15CR1796-CAB
